  8:06-cr-00304-LSC-TDT             Doc # 78    Filed: 12/07/06      Page 1 of 1 - Page ID # 110




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
       vs.                                         )
                                                   )                     8:06CR304
JOSE ESTRADA-MENDEZ,                               )
JOSE GALVAN-GODINEZ,                               )          ORDER CONTINUING TRIAL
MARCO CEDILLO,                                     )
MIGUEL ROMERO, and                                 )
TARA WILLIAMS,                                     )
                                                   )
                       Defendants.                 )

         This matter is before the court on the motion of defendant, Jose Estrada-Mendez, to continue
the trial currently set for January 2, 2007. For good cause shown,

       IT IS ORDERED that the Motion [77] is granted, as follows:

       1. As to all remaining defendants, the above-entitled case is scheduled for a jury trial
before the Honorable Laurie Smith Camp, District Court Judge, to begin Tuesday, January 16,
2007 at 9:00 a.m. in Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111
South 18th Plaza, Omaha, Nebraska; because this is a criminal case, defendant(s) must be present
in person. Counsel will receive more specific information regarding the order of trial from Judge
Smith Camp’s staff.

      2. Counsel for the United States shall confer with defense counsel and, no later than
January 10, 2007, advise the court of the anticipated length of trial.

        3. In accordance with 18 U.S.C. § 3161(h)(A), I find that the ends of justice will be served
by granting such motion and outweigh the interests of the public and the defendant in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between January
2, 2007 and January 16, 2007, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act, 18 U.S.C. § 3161 because counsel require more time to
effectively prepare the case, taking into account defense counsel's scheduling conflict and the
exercise of due diligence. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

      4. Defendant, Jose Estrada-Mendez, shall file a waiver of speedy trial in compliance with
NECrimR 12.1 as soon as is practicable.

       DATED November 30, 2006.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
